         Case 1:18-po-00001-MSN Document 2 Filed 12/29/17 Page 1 of 2 PageID# 2


                                                                                  FILED
                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA


                                         Alexandria Division                             ^
                                                                           CLERK US DISTRICT COURT
UNITED STATES OF AMERICA                                                    ALEXANDRIA. VIRGINIA
                                                       Docket No: 7516428


             V.
                                                                   Ifc poC>(
                                                       Hearing Date: January 3, 2018
KENDRA L. LAFLAMME




                                      MOTION TO DISMISS


       The United States of America, by and through its attorneys, Dana J. Boente, United States

Attorney for the Eastern District of Virginia, and Bridget Kams, Special Assistant United States

Attorney, represent to this Court that it does not desire to prosecute further United States District

Court Violation 7516428.


       Accordingly, the United States hereby moves for a dismissal of United States District Court

Violation 7516428 without prejudice.

                                                Rcspectfiilly submitted,

                                                Dana J. Boente
                                                United States Attorney


Fort Belvoir, VA                          BY:
                                                Bridget Kams
                                                Special Assistant United States Attorney
                                                United States Attorney's Office
                                                Eastern District of Virginia
                                                2100 Jamicson Avenue
                                                Alexandria, Virginia 22314
                                                Phone: 703 299-3776
                                                Fax: 703-805-1042
                                                Email: briduet.kams@usdoi.gQv
Case 1:18-po-00001-MSN Document 2 Filed 12/29/17 Page 2 of 2 PageID# 3
